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                                              July 21, 2017


                                                 E-FILING



Clerk
United States District Court
District of New Jersey – Trenton
Clarkson S. Fisher Federal Building & U.S. Courthouse
402 E. State Street
Trenton, NJ 08

RE:     UNITED STATES OF AMERICA v. JUSTIN LOVE, et al
        CRIM. NO.: cr-17-00051

Dear Sir/Madam:

Attached is defendant, Justin Love’s Motion to Modify Conditions of Release, with supporting
Certification of Counsel, and proposed Order, which is being e-filed on the above date with the
Court, the U.S. Attorney’s Office and all relevant counsel.

Thank you for your attention.

Very truly yours,

        Wayne Powell /s/

BY:__________________________
      WAYNE POWELL
WP/mv
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Attorney(s) for defendant, Justin Love



                            UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY – TRENTON



UNITED STATES OF AMERICA                 :

                             Plaintiff   :    CRIMINAL NO.: 17-00051
                     v.
                                         :
JUSTIN LOVE, et al
                                         :
                             Defendant
                                         :

                 MOTION TO MODIFY CONDITIONS OF RELEASE

COMES NOW, the defendant, Justin Love by and through his undersigned counsel and moves
for the entry of an order modifying his conditions of release.
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                                     RELIEF REQUESTED

It is respectfully requested that the court grant this motion and modify Justin Love's conditions of
release as follows.

     1. Vacate the Court's prior order for home detention and electronic monitoring.

WHEREFORE, defendant, Justin Love respectfully requests that the Court grant this motion
and permit the Court's previous order setting the conditions of release be modified to vacate the
condition of home detention and electronic monitoring.

                                     Respectfully submitted,

                                        Wayne Powell /s/
                            __________________________________
                                     Wayne Powell, Esquire
                                  Wayne Powell Attorney, P.C.
                              Attorney(s) for defendant, Justin Love




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                            UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY – TRENTON



UNITED STATES OF AMERICA                       :

                               Plaintiff       :       CRIMINAL NO.: 17-00051
                v. .
                                               :
JUSTIN LOVE, et al                                     CERTIFICATION OF COUNSEL
                                               :       IN SUPPORT OF NOTICE OF
                               Defendant               MOTION TO MODIFY CONDITIONS
                                               :       DEFENDANT’S RELEASE /B AIL

       Wayne Powell, of full age hereby certifies the following.


1)     I am an attorney at law in the state of New Jersey representing the defendant herein and I

am fully familiar with the facts of this matter.


2)     On or about June 1, 2016 Defendant was arrested by elements of the U.S. Marshal’s

Service for violations of the Federal Criminal Code.


3)     On June 2, 2016 Defendant appeared before the Federal District Court for the District of

New Jersey in Newark.
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4)     Defendant was released on home arrest by the Magistrate Judge as a result of the Court's

finding that the conditions of release recommended by Pre-trial Services was sufficient to assure

the Defendant's presence for future proceedings.

5)     Subsequent thereto Defendant's conditions of release were modified by consent to allow

the Defendant to change his place of residence on two occasions and to lift restrictions to

Defendant's ability to work, and ultimately the character of his home detention to a curfew.

6)     Since the advent of the above changes Defendant has become self-employed in a new

medical transportation business which requires the Defendant to transport patients and to fill in

for employees where there are call-outs or other absenteeism.

7)     Defendant now moves for an order of this court further amending the Defendant's

conditions of release to rescind the conditions of home confinement, to vacate the Defendant's

bail condition of home confinement and permit the Defendant to remain at liberty pursuant to an

unsecured bond.

8)     Defendant has been on pre-trial release for over one (10 year without any infractions or

violations and Defendant does not present any significant flight risk given Defendant’s potential

exposure for the offense charged

9)     For the reasons set forth above it is respect fully submitted that the Defendant's motion to

modify bail conditions be granted.

                                     Respectfully submitted,

                                       Wayne Powell /s/
                           __________________________________
                                    Wayne Powell, Esquire
                                 Wayne Powell Attorney, P.C.
                             Attorney(s) for defendant, Justin Love
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                            UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY – TRENTON



UNITED STATES OF AMERICA                     :

                             Plaintiff       :    CRIMINAL NO.: 17-00051
                     v.
                                             :
JUSTIN LOVE, et al
                             Defendant       :

                                            ORDER

       AND NOW, this ______________, day of _________________________, 2017, upon

the application of Wayne Powell, counsel for defendant, Justin Love, and the Court having

considered the Defendant’s Motion to Modify the Conditions of Defendant’s Release, any oral

argument of counsel and for other good cause being shown;

       IT IS ORDERED that the Conditions of Release for defendant, Justin Love be Modified

as follows: ____________________________________________________________________.

                                         BY THE COURT:


                           __________________________________
                                                        J.
